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4                            UNITED STATES DISTRICT COURT

5                           EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,                   No. 2:15-cr-0118-GEB
8                  Plaintiff,
9          v.                                    ORDER
10   MICHAEL DESHONE MATHEWS,
11                 Defendant.
12

13               Defendant     objects      to    paragraphs    35     and    37   in    the

14   Presentence Investigation Report (“PSR”). (Def’t’s Objection to

15   PSR 2:02-5:01, ECF No. 76.)

16               These objections were discussed during the sentencing

17   hearing    held   on    May   20,    2016.   The     government    stated     at    the

18   hearing    that   it    has   no    position   on    Defendant’s        objection    to

19   paragraph 35.      However, the judge decided to conduct research on

20   the   objection    to     paragraph     35     and    therefore    continued        the

21   sentencing hearing.

22               Paragraph 35 increases Defendant’s offense level two

23   levels for the following reasons:

24               The defendant committed the offense as part
                 of a pattern of criminal conduct engaged in
25               as a livelihood. The conduct exceeded a 12-
                 month period and Mathews derived more than
26               $18,000 from the illegal conduct. Moreover,
                 state records show the defendant had no
27               reported or documented legal employment or
                 income from 2011 to 2014 which includes the
28               first year of the investigative period.
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1                   Therefore, a two-level increase is being
                    applied, pursuant to USSG §2D1.1(b)(15)(E).
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3    (PSR Paragraph 35 p.9-10, ECF No. 74.)

4                   Defendant argues, inter alia, in his objection to this

5    enhancement:

6                   “Pattern of criminal conduct” means planned
                    criminal acts occurring over a substantial
7                   period of time. “Substantial period of time”
                    is not defined in the Sentencing Guidelines.
8                   This crime spanned one year under the Offense
                    Conduct section. This is not “a substantial
9                   period of time.”

10   (Def’t’s Objection to PSR 2:11-14 (citing U.S.S.G Section 4B1.3,

11   comment (n.1))).

12                  Although U.S.S.G. Section 4B1.3, comment (n.1), “does

13   not attempt to delineate the length of a ‘substantial period’ [of

14   time,]” United States v. Reed, 951 F.2d 97, 101 (6th Cir. 1991),

15   Defendant’s interpretation of this advisory guideline term is

16   unpersuasive.       See Reed, 951 F.2d at 101-02 (finding a seven-

17   month period long enough to constitute a substantial period of

18   time); United States v. Irvin, 906 F.2d 1424, 1426 (10th Cir.

19   1990)    (stating    “defendant’s      [engagement      in    a]   well-organized

20   criminal venture” from five to seven months was a substantial

21   period    of    time).   The   PSR   evinces   that     defendant     engaged   in

22   several    criminal      trafficking   transactions      involving     oxycodone

23   pills for a time period exceeding twelve months, and as stated in

24   the PSR he “committed the offense as a part of a pattern of

25   criminal conduct engaged in as a livelihood.” (PSR paragraph 35.)

26                  Therefore,   Defendant’s     objection    to    paragraph   35   is

27   overruled. However, for the reasons stated during the sentencing

28   hearing Defendant’s objection to paragraph 37 was sustained.
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1                 Since the objection to Paragraph 37 has been sustained

2    and   the    objection     to   Paragraph   35    is   overruled,   Defendant’s

3    Offense Level is 37, and the resulting advisory guideline range

4    is 168 to 210 months.

5                 The   Probation     Department      shall   be   included   in   the

6    service of this Order, and the Probation Department shall append

7    a copy of this Order to the presentence report made available to

8    the Bureau of Prisons.

9    Dated:      May 26, 2016

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